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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  KATHY COURTRIGHT,

             Petitioner,

  v.                                          Civil Action No. 5:05CV174
                                       (Criminal Action No. 5:02CR70-09)
  UNITED STATES OF AMERICA,                                      (STAMP)

             Respondent.


                       MEMORANDUM OPINION AND ORDER
                     AFFIRMING AND ADOPTING REPORT AND
                    RECOMMENDATION OF MAGISTRATE JUDGE

                           I.   Procedural History

        Pro se petitioner Kathy Courtright filed a motion under 28

  U.S.C. § 2255 to vacate, set aside or correct a sentence by a

  person in federal custody.       The government filed a response.        The

  matter was referred to United States Magistrate Judge James E.

  Seibert for initial review and report and recommendation pursuant

  to Local Rule of Prisoner Litigation Procedure 83.15.            Magistrate

  Judge Seibert issued a report recommending that the petitioner’s

  § 2255 application be denied because in her plea agreement the

  petitioner knowingly, intelligently, and voluntarily waived the

  right to collaterally attack her conviction.         The magistrate judge

  informed the parties that if they objected to any portion of the

  report, they must file written objections within ten days after
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  being served with copies of the report.                    The time for objections

  has now passed and no objections have been filed to date.1

                                 II.    Standard of Review

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de       novo   review    of   any      portion   of   the   magistrate   judge’s

  recommendation to which objection is timely made.                       As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”                  See Orpiano v. Johnson, 687

  F.2d 44, 47 (4th Cir. 1982); Webb v. Califano, 468 F. Supp. 825

  (E.D. Cal. 1979).            Because the petitioner did not file objections,

  this Court reviews the report and recommendation for clear error.

                                       III.    Discussion

           The petitioner contends in her § 2255 petition that she

  received ineffective assistance of counsel because her counsel

  allegedly represented to her that the maximum guideline sentence

  she would receive would be 37 months.                 The petitioner asserts that

  she signed the plea agreement based on that representation.                      The

  petitioner contends that she was unaware of her exposure to the

  Career Criminal Act and that counsel did not advise her of such


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        On June 22, 2007, the report and recommendation mailed to the
  petitioner by the Clerk was returned as undeliverable. In the
  Notice of General Guidelines for Appearing Pro Se in Federal Court,
  provided to the petitioner on October 17, 2005, the petitioner was
  advised that she must keep the Court and opposing counsel advised
  of her most current address at all times and that failure to do so
  may result in the action being dismissed without prejudice.

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  exposure.    Additionally, the petitioner contends that counsel was

  ineffective     because    he   foreclosed   her   ability   to   appeal   the

  enhanced sentence by failing to object to the use of unproven prior

  convictions in the calculation of her career offender status.

        Based on a review of the record and the applicable law,

  Magistrate Judge Seibert recommended that the petitioner’s § 2255

  application     be     denied    because     the   petitioner     knowingly,

  intelligently, and voluntarily waived the right to collaterally

  attack her conviction when she pled guilty to Count Six of an

  indictment charging her with distribution of crack within 1,000

  feet of a school.         Specifically, the petitioner signed a plea

  agreement on July 29, 2003 which stated that she “waives her right

  to challenge her sentence or the manner in which it was determined

  in any collateral attack, including but not limited to, a motion

  brought under Title 28, United States Code, Section 2255.”2

        Because    the      petitioner    knowingly,    intelligently,       and

  voluntarily waived the right to collaterally attack her conviction,

  the petitioner’s application for habeas corpus pursuant to § 2255

  must be denied.

                                  IV.   Conclusion

        This Court finds that the magistrate judge’s recommendation is

  not clearly erroneous and hereby AFFIRMS and ADOPTS the report and



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        The plea agreement was accepted and filed by this Court on
  August 8, 2003.

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  recommendation     of   the    magistrate    judge    in   its    entirety.

  Accordingly, petitioner’s motion to vacate, set aside, or correct

  her sentence pursuant to 28 U.S.C. § 2255 is DENIED.         It is further

  ORDERED that this civil action be DISMISSED and STRICKEN from the

  active docket of this Court.

        Finally, this Court finds that the petitioner was properly

  advised by the magistrate judge that failure to timely object to

  the report and recommendation in this action will result in a

  waiver of appellate rights.       Because the petitioner has failed to

  object, she has waived her right to seek appellate review of this

  matter.    See Wright v. Collins, 766 F.2d 841, 844-45 (4th Cir.

  1985).

        IT IS SO ORDERED.

        The Clerk is DIRECTED to transmit a copy of this memorandum

  opinion and order to the pro se petitioner and to counsel of record

  herein.   Pursuant to Federal Rule of Civil Procedure 58, the Clerk

  is DIRECTED to enter judgment on this matter.

        DATED:     November 13, 2007



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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